                                            Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 1 of 10




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       SHERRI JEAN PARKS,                               Case No. 16-cv-04061-HSG
                                   8                     Plaintiff,                         ORDER GRANTING IN PART AND
                                                                                            DENYING IN PART DEFENDANT’S
                                   9              v.                                        MOTION FOR SUMMARY JUDGMENT
                                  10       PORT OF OAKLAND,                                 Re: Dkt. No. 68
                                  11                     Defendant.

                                  12             Pending before the Court is Defendant’s motion for summary judgment. Dkt. No. 68. For
Northern District of California
 United States District Court




                                  13   the following reasons, the Court GRANTS IN PART and DENIES IN PART the motion.

                                  14        I.   PROCEDURAL HISTORY
                                  15             On July 19, 2016, pro se Plaintiff Sherri Jean Parks filed this employment discrimination

                                  16   action against Defendant1 Port of Oakland (“the Port”). Dkt. No. 1. Plaintiff has been employed

                                  17   as a plumber for the Port of Oakland since 2001. Plaintiff asserts violations of (1) Title VII; (2)

                                  18   the Americans with Disabilities Act; and (3) the Equal Pay Act and Fair Pay Act. Dkt. No. 31

                                  19   (“SAC”). Defendants filed the current motion for summary judgment on July 3, 2018.

                                  20       II.   BACKGROUND
                                  21             A.    Title VII, Equal Pay Act, and Fair Pay Act Claims
                                  22             Defendant manages backflow devices for the Port and other entities. Dkt. No. 75 ¶ 6.2 A

                                  23   backflow device is “a valve or series of valves . . . configured to prevent the undesirable reversal

                                  24   of flow of water mixtures . . . getting into the distribution pipes of the potable supply of water.”

                                  25   Id. Defendant contends that plumbers at the Port are responsible for testing and repairing

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                                  27     Although Plaintiff initially named both the Port of Oakland and the City of Oakland as
                                       defendants in this action, the Court dismissed all claims against the City of Oakland and only the
                                  28   Port remains. See Dkt. No. 29.
                                       2
                                         The facts listed in this section are undisputed unless otherwise noted.
                                            Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 2 of 10




                                   1   backflow devices as a part of their regular duties. Id. Both parties agree that the task of

                                   2   “administering” the backflow device program is outside of the regular duties for a plumber. Id. ¶

                                   3   7.

                                   4           Article 13.J of the Memorandum of Understanding (“MOU”) between the Port and Service

                                   5   Employees International Union, Local 1021 (“SEIU”) provides that “[w]hen an employee

                                   6   performs duties that are clearly above and outside of the duties in the employee’s job specification,

                                   7   the employee shall be paid an additional 6% of the regular pay for his/her own classification.”

                                   8   Dkt. No. 74 (“Mitchell Decl.”), Ex. 1 (“MOU”) at 36.

                                   9           Plaintiff, a plumber for the Port, contends that she performed backflow-related duties that

                                  10   warranted a 6% pay increase and was not compensated, while other, similarly situated male

                                  11   plumbers received the pay increase for similar work. SAC ¶¶ 9–20; Dkt. No. 87-1 at 4.

                                  12           B.   ADA Claims
Northern District of California
 United States District Court




                                  13           In April of 2013, Plaintiff was suffering from numerous injuries, and was scheduled for

                                  14   surgery to repair her rotator cuff on or around July 1, 2013. Dkt. No. 79 (“Singh Decl.”) ¶¶ 3, 5.

                                  15   Prior to that surgery, on April 29, 2013, Plaintiff’s physician issued work restrictions to Defendant

                                  16   that required Plaintiff to take off one shift per week. Singh Decl. ¶ 4, Ex. 1. Defendant evaluated

                                  17   the request and found that eliminating one shift per week would be impossible, and on May 8,

                                  18   2013 Plaintiff was put on paid leave until her July surgery. Dkt. No. 77 ¶ 7; Singh Decl. ¶ 5. At

                                  19   some point between July 1 and September 23, Defendant placed Ms. Parks on “unpaid status.”

                                  20   Dkt. No. 87-2, Ex 7 at 6; Singh Decl. ¶ 5. In early October, Defendant received a report from

                                  21   Plaintiff’s doctor that Plaintiff would be unable to work for at least the next four weeks due to pain

                                  22   in her hands. Singh Decl. ¶ 7, Ex. 4. Plaintiff underwent surgery on her wrist at the end of

                                  23   October, 2013. Singh Decl. ¶ 7, Ex. 4 at 6. Following that wrist surgery, on or around December

                                  24   3, 2013, Plaintiff’s physicians communicated to Defendant that Plaintiff could return to work with

                                  25   certain limitations, including being unable to lift, push, or pull items over a certain weight. Singh

                                  26   Decl. ¶¶ 8–9, Exs. 5, 6. Defendant contacted Plaintiff to begin the process of interactive disability

                                  27   accommodation in early December of 2013. Dkt. No. 76 ¶ 4.

                                  28           The parties held an interactive process meeting on January 17, 2014 during which
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                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 3 of 10




                                   1   Defendant concluded that Plaintiff was unable to perform the essential functions of her

                                   2   employment with or without accommodations. Dkt. No. 76 ¶ 8, Ex. 10; Dkt. No. 75 ¶ 9. On

                                   3   February 13, 2014, Plaintiff’s physician informed Defendant that her work restrictions were

                                   4   modified. Dkt. No. 76 ¶ 10, Ex. 12; Singh Decl. ¶ 11, Ex. 8. The Port subsequently determined

                                   5   that Plaintiff’s new restrictions, which included a requirement that Plaintiff take off one shift per

                                   6   week, could be accommodated, and Plaintiff returned to work on February 14, 2014. Dkt. No. 75

                                   7   ¶ 10.

                                   8   III.    SUMMARY JUDGMENT STANDARD
                                   9           Summary judgment is proper when a “movant shows that there is no genuine dispute as to

                                  10   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

                                  11   A fact is “material” if it “might affect the outcome of the suit under the governing law.” Anderson

                                  12   v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is “genuine” if there is evidence in the
Northern District of California
 United States District Court




                                  13   record sufficient for a reasonable trier of fact to decide in favor of the nonmoving party. Id. The

                                  14   Court views the inferences reasonably drawn from the materials in the record in the light most

                                  15   favorable to the nonmoving party, Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

                                  16   574, 587–88 (1986), and “may not weigh the evidence or make credibility determinations,”

                                  17   Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997), overruled on other grounds by Shakur v.

                                  18   Schriro, 514 F.3d 878, 884–85 (9th Cir. 2008).

                                  19           The moving party bears both the ultimate burden of persuasion and the initial burden of

                                  20   producing those portions of the pleadings, discovery, and affidavits that show the absence of a

                                  21   genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Where the

                                  22   moving party will not bear the burden of proof on an issue at trial, it “must either produce

                                  23   evidence negating an essential element of the nonmoving party’s claim or defense or show that the

                                  24   nonmoving party does not have enough evidence of an essential element to carry its ultimate

                                  25   burden of persuasion at trial.” Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102

                                  26   (9th Cir. 2000). Where the moving party will bear the burden of proof on an issue at trial, it must

                                  27   also show that no reasonable trier of fact could not find in its favor. Celotex Corp., 477 U.S. at

                                  28   325. In either case, the movant “may not require the nonmoving party to produce evidence
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                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 4 of 10




                                   1   supporting its claim or defense simply by saying that the nonmoving party has no such evidence.”

                                   2   Nissan Fire & Marine Ins. Co., 210 F.3d at 1105. “If a moving party fails to carry its initial

                                   3   burden of production, the nonmoving party has no obligation to produce anything, even if the

                                   4   nonmoving party would have the ultimate burden of persuasion at trial.” Id. at 1102–03.

                                   5             “If, however, a moving party carries its burden of production, the nonmoving party must

                                   6   produce evidence to support its claim or defense.” Id. at 1103. In doing so, the nonmoving party

                                   7   “must do more than simply show that there is some metaphysical doubt as to the material facts.”

                                   8   Matsushita Elec. Indus. Co., 475 U.S. at 586. A nonmoving party must also “identify with

                                   9   reasonable particularity the evidence that precludes summary judgment.” Keenan v. Allan, 91

                                  10   F.3d 1275, 1279 (9th Cir. 1996). If a nonmoving party fails to produce evidence that supports its

                                  11   claim or defense, courts enter summary judgment in favor of the movant. Celotex Corp., 477 U.S.

                                  12   at 323.
Northern District of California
 United States District Court




                                  13   IV.       DISCUSSION
                                  14             A.   Arbitration Pursuant to MOU
                                  15             Defendant contends that Plaintiff’s first and second claims, which allege sex

                                  16   discrimination under Title VII and the Equal Pay Act and Fair Pay Act, are properly subject to

                                  17   arbitration because they implicate the provisions of the MOU. Dkt. No. 68 at 13–16.

                                  18                      Legal Standard
                                  19             The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., sets forth a policy favoring

                                  20   arbitration agreements and establishes that a written arbitration agreement is “valid, irrevocable,

                                  21   and enforceable.” 9 U.S.C. § 2; see also Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,

                                  22   460 U.S. 1, 24 (1983) (noting federal policy favoring arbitration). The FAA allows that a party

                                  23   “aggrieved by the alleged failure, neglect, or refusal of another to arbitrate under a written

                                  24   agreement for arbitration may petition any United States district court . . . for an order directing

                                  25   that . . . arbitration proceed in the manner provided for in such agreement.” 9 U.S.C. § 4. Federal

                                  26   policy is “simply to ensure the enforceability, according to their terms, of private agreements to

                                  27   arbitrate.” Volt Info. Sciences, Inc. v. Bd. of Trustees of Leland Stanford Jr. Univ., 489 U.S. 468,

                                  28   476 (1989). Courts must resolve any “ambiguities as to the scope of the arbitration clause itself . .
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                                          Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 5 of 10




                                   1   . in favor of arbitration.” Id.

                                   2           Arbitration agreements “shall be valid, irrevocable, and enforceable, save upon such

                                   3   grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2. In analyzing

                                   4   whether an arbitration agreement is valid and enforceable, “generally applicable contract defenses,

                                   5   such as fraud, duress, or unconscionability, may be applied to invalidate arbitration agreements

                                   6   without contravening § 2.” Doctor’s Assoc., Inc. v. Casarotto, 517 U.S. 681, 687 (1996). In

                                   7   interpreting the validity and scope of an arbitration agreement, the courts apply state law

                                   8   principles of contract formation and interpretation. See Wolsey, Ltd. v. Foodmaker, Inc., 144 F.3d

                                   9   1205, 1210 (9th Cir. 1998) (citation omitted).

                                  10           When considering a motion to compel arbitration, the court is limited to determining (1)

                                  11   whether a valid arbitration agreement exists, and, if so (2) whether the arbitration agreement

                                  12   encompasses the dispute at issue. Cox v. Ocean View Hotel Corp., 533 F.3d 1114, 1119 (9th Cir.
Northern District of California
 United States District Court




                                  13   2008). If these conditions are satisfied, the court must compel arbitration. 9 U.S.C. § 4; Dean

                                  14   Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (“By its terms, the [FAA] leaves no place

                                  15   for the exercise of discretion by a district court, but instead mandates that district courts shall

                                  16   direct the parties to proceed to arbitration.”).

                                  17                     Analysis
                                  18           Article 13.J of the MOU provides that “[w]hen an employee performs duties that are

                                  19   clearly above and outside of the duties in the employee’s job specification, the employee shall be

                                  20   paid an additional 6% of the regular pay for his/her own classification.” MOU at 36.

                                  21           Article 5 of the MOU outlines the procedure for grievances, which are defined as

                                  22   “dispute[s] which involve[] the interpretation or application of this Agreement, the applicable

                                  23   personnel rules of the Port and/or disciplinary action taken.” MOU at 12. The MOU then

                                  24   describes an escalating administrative grievance process in which an aggrieved employee: (1)

                                  25   “may present the grievance orally to the immediate supervisor”; (2) “may submit the grievance in

                                  26   writing to the immediate supervisor”; (3) “may . . . submit the written grievance to the department

                                  27   manager to whom the supervisor immediately reports”; (4) “may . . . submit the written grievance

                                  28   to the Port Employee Appeals Officer”; and, (5) “[s]houd the grievance remain unresolved . . .
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                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 6 of 10




                                   1   either party may . . . submit such grievance to an impartial arbitrator.” MOU at 12–13.

                                   2          By the language of the MOU, Plaintiff is compelled to arbitrate unresolved grievances that

                                   3   involve the “interpretation or application” of the MOU. See Collins v. Burlington N. R. Co., 867

                                   4   F.2d 542, 544 (9th Cir. 1989) (permissive language in an arbitration provision should be construed

                                   5   as mandatory). Title VII claims can be subject to arbitration. Mago v. Shearson Lehman Hutton

                                   6   Inc., 956 F.2d 932, 935 (9th Cir. 1992) (holding that Title VII claims are not per se unarbitrable).

                                   7          Plaintiff’s first two claims allege sex discrimination based on Defendant’s failure to offer

                                   8   Plaintiff a 6% pay increase for her work as a backflow assembly tester, while offering that same

                                   9   increase to “similarly situated males.” SAC ¶¶ 12, 20. Plaintiff’s claims therefore require a

                                  10   comparison between Defendant’s application of Article 13.J of the MOU to Plaintiff and

                                  11   Defendant’s application of that same section to male plumbers. Because Plaintiff’s first two

                                  12   claims involve the application of the MOU, they are encompassed within the MOU’s arbitration
Northern District of California
 United States District Court




                                  13   provision and must be decided by an arbitrator in the first instance.

                                  14          B.    Disability Discrimination (Claim Three)
                                  15          Defendant contends that Plaintiff’s third claim for disability discrimination fails because

                                  16   (1) Plaintiff was not “disabled” within the meaning of the ADA, and (2) there is no dispute of

                                  17   material fact that Plaintiff did not suffer an “adverse employment action” as a result of her alleged

                                  18   disability. Dkt. No. 68 at 19–21. “[T]o establish a prima facie case of discrimination under the

                                  19   ADA [Plaintiff] must show that she: (1) is disabled; (2) is qualified; and (3) suffered an adverse

                                  20   employment action because of her disability.” Snead v. Metro. Prop. & Cas. Ins. Co., 237 F.3d

                                  21   1080, 1087 (9th Cir. 2001). “The term ‘qualified individual’ means an individual who, with or

                                  22   without reasonable accommodation, can perform the essential functions of the employment

                                  23   position that such individual holds or desires.” 42 U.S.C.A. § 12111(8).

                                  24                    Background and Scope
                                  25          Plaintiff’s claim alleges that Defendant “refused to allow [Ms. Parks] to continue working

                                  26   until [her] scheduled surgery on or around the first part of May 2013.” SAC ¶ 21. Making all

                                  27   inferences in Plaintiff’s favor, the period encompassed by this claim begins May 8, 2013, when

                                  28   Ms. Parks was initially placed on fully paid leave, Singh Decl. ¶ 5, and continues until the end of
                                                                                         6
                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 7 of 10




                                   1   October, 2013 when Ms. Parks underwent wrist surgery, Id., Ex. 4 at 6.

                                   2            On July 30 or 31, 2013, Defendant received a report from Plaintiff’s doctor that Plaintiff

                                   3   was unable to return to work. Singh Decl. ¶ 6, Ex. 3. In August, 2013, Plaintiff claims that she

                                   4   was moved from paid leave to unpaid leave. Dkt. No. 87-1 at 8; Dkt. No. 87-2, Ex. 7 at 6 (email

                                   5   chain confirming that Ms. Parks was on “unpaid status” by at least September 23, 2013). On

                                   6   October 1, 2013, Defendant received a second report from one of Plaintiff’s doctors indicating that

                                   7   Plaintiff’s work status was “Temporarily Totally Disabled” for at least four weeks. Sing Decl. ¶ 7,

                                   8   Ex. 4.

                                   9                     Disability
                                  10            An individual has a disability under the ADA if that person has “a physical or mental

                                  11   impairment that substantially limits one or more major life activities.” 42 U.S.C.A. §

                                  12   12102(1)(A); 29 C.F.R. § 1630.2(g)(1)(i). “[W]hether a person is disabled under the ADA is
Northern District of California
 United States District Court




                                  13   an individualized inquiry.” Fraser v. Goodale, 342 F.3d 1032, 1039 (9th Cir. 2003) (citation

                                  14   omitted).

                                  15            Here, Plaintiff testified that she suffered from carpal tunnel, a torn knee ligament, torn

                                  16   rotator cuffs, and a herniated disk in her neck. Dkt. No. 72, Ex. 1 (“Parks Depo.”) at 153:20–

                                  17   154:3. Defendant points to Plaintiff’s other testimony stating that she does not recall her work

                                  18   limitations resulting from her injuries, id. at 169:5–13, 171:25–172:3, 173:4–8, that she was not

                                  19   prevented from working, id. at 170:15–171:18, and that that there were no aspects of her job that

                                  20   Plaintiff was unable to perform due to her “head injury,” id. at 175:15–19. This testimony does

                                  21   not resolve the factual dispute as to whether Plaintiff had a disability that substantially limited one

                                  22   or more major life activities during the time in question, especially in light of Defendant’s

                                  23   knowledge of Plaintiff’s injury-related work restrictions as early as 2011. See Singh Decl. ¶ 3.

                                  24   Therefore, making all inferences in Plaintiff’s favor, the Court cannot find as a matter of law that

                                  25   Plaintiff did not have a disability under the ADA.

                                  26                     Adverse Employment Action
                                  27            An “adverse employment action is one that ‘materially affect[s] the compensation, terms,

                                  28   conditions, or privileges of ... employment.’” Davis v. Team Elec. Co., 520 F.3d 1080, 1089 (9th
                                                                                           7
                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 8 of 10




                                   1   Cir. 2008) (brackets in original).

                                   2          Plaintiff alleges that she was placed on unpaid leave in August of 2013 as a result of her

                                   3   alleged disabilities. Dkt. No. 87-1 at 8. Defendant contends that during this period of unpaid

                                   4   leave, Plaintiff was unable to perform the essential functions of her position, and therefore was not

                                   5   qualified for ADA accommodation. Dkt. No. 89 at 6 (discussing unpaid leave in November);

                                   6   Singh Decl. ¶¶ 7–11. Based on the doctor’s reports from the end of July and the beginning of

                                   7   October, Plaintiff was unable to return to work with or without accommodation. Singh Decl. ¶¶

                                   8   6–7, Exs. 3, 4. As a result, Plaintiff was not a “qualified individual” during the time period that

                                   9   she alleges having suffered an adverse employment action. The Court therefore finds that, even

                                  10   making all inferences in Plaintiff’s favor, Plaintiff’s ADA claim for the period between May and

                                  11   October 2013 fails as a matter of law.

                                  12          C.    Failure to Accommodate in May 2013 (Claim Four)
Northern District of California
 United States District Court




                                  13          Defendant contends that Plaintiff’s claim that the Port failed to make “reasonable

                                  14   accommodations” for Plaintiff’s alleged disability fails as a matter of law because Plaintiff

                                  15   communicated to the Port that she had no limitations or difficulties performing the essential

                                  16   functions of her job. Dkt. No. 68 at 21–22. Defendant cites to Kocsis v. Multi Care Mgmt., Inc., a

                                  17   Sixth Circuit case affirming a summary judgment ruling in favor of the defendant where the

                                  18   plaintiff “never requested any accommodation from the defendant,” “testified several times that

                                  19   she was physically capable of performing the [required] duties,” and the plaintiff’s “doctors

                                  20   reported that she was not limited in her activity and that she, consequently, did not need any

                                  21   accommodations.” Kocsis v. Multi-Care Mgmt., Inc., 97 F.3d 876, 882–883 (6th Cir. 1996).

                                  22          Even if the Court chose to consider Kocsis as persuasive authority, viewing the evidence in

                                  23   the light most favorable to Plaintiff, the record here does not meet any of these conditions.

                                  24   Plaintiff’s doctors and the Port’s own physician informed Defendant of Plaintiff’s need for

                                  25   accommodation on multiple occasions before Defendant allowed Plaintiff to resume working.

                                  26   Singh Decl ¶¶ 8–10, Exs. 5, 6, 7; Dkt. No. 76 ¶ 7, Ex. 8. And, as discussed above with respect to

                                  27   Plaintiff’s third claim, Plaintiff’s statements at deposition do not prove as a matter of law that

                                  28   Plaintiff did not have an ADA-covered disability. See Parks Depo. at 169:8–12 (Q: “But around
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                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 9 of 10




                                   1   April of 2013, did you have any particular work limitations?” A: “I’d have to look at the records

                                   2   for that.” Q: “As you sit here today, do you recall any?” A: “I don’t know.”).

                                   3          D.    Failure to Accommodate in December 2013 and early 2014 (Claim Five)
                                   4          Defendant contends that there is no dispute of material fact that the Port sufficiently

                                   5   engaged in the interactive process with Plaintiff following her 2013 and 2014 surgeries and

                                   6   accommodated her alleged disabilities when she eventually returned to work. Dkt. No. 68 at 22–

                                   7   24.

                                   8          Plaintiff alleges that Defendant “unnecessarily delayed initiating the interactive

                                   9   accommodation process” until January of 2014, and denied the reasonable accommodations

                                  10   plaintiff requested until she was allowed to return to work on February 14, 2014. SAC ¶¶ 32–33.

                                  11          “[O]nce the need for accommodation has been established, there is a mandatory obligation

                                  12   to engage in an informal interactive process to clarify what the individual needs and identify the
Northern District of California
 United States District Court




                                  13   appropriate accommodation. This interactive process is triggered upon notification of the

                                  14   disability and the desire for accommodation. An employer who fails to engage in such an

                                  15   interactive process in good faith may incur liability if a reasonable accommodation would have

                                  16   been possible.” Vinson v. Thomas, 288 F.3d 1145, 1154 (9th Cir. 2002) (internal citations and

                                  17   quotation marks omitted).

                                  18          Plaintiff had wrist surgery in late October of 2013. Singh Decl., Ex. 4 at 6. On December

                                  19   4, 2013, Defendant received a status report from Plaintiff’s physicians clearing Plaintiff to return

                                  20   to work with certain restrictions. Singh Decl. ¶¶ 8–9, Exs. 5, 6.

                                  21          Plaintiff contends that, at the January 17, 2014 meeting to discuss accommodations,

                                  22   Defendant did not participate in the interactive process in good faith, and failed to provide Plaintiff

                                  23   with a reasonable accommodation as a result. Dkt. No. 87-1 at 9. Plaintiff, on multiple occasions

                                  24   before the January 17 interactive process meeting, informed Defendant of her disabilities. See,

                                  25   e.g., Dkt. No. 76, Ex. 3 (December, 2013 email thread between Plaintiff and Defendant discussing

                                  26   “medical condition covered by ADA and FEHA” and physician’s suggested accommodations).

                                  27   Plaintiff’s doctor, as well as the Port physician who examined Plaintiff, confirmed that Plaintiff

                                  28   required accommodations in order to return to work. Id., Exs. 3, 8 (Port physician report). It is
                                                                                         9
                                         Case 4:16-cv-04061-HSG Document 97 Filed 09/10/18 Page 10 of 10




                                   1   undisputed that Plaintiff suggested several possible accommodations that would allow her to

                                   2   return to work at the January 17 meeting, and that Defendant rejected each of these

                                   3   accommodations. Dkt. No. 75 ¶ 9.

                                   4             Though the Court takes no position on whether Plaintiff’s surviving ADA claims are likely

                                   5   to prevail at trial, when all inferences are made in Plaintiff’s favor as required at this stage, issues

                                   6   of material fact remain as to whether Defendant is liable for denying Plaintiff’s suggested

                                   7   accommodations. Defendant’s evidence that the Port “ultimately could not identify any feasible

                                   8   way” to provide any of Plaintiff’s suggested accommodations does not prove as a matter of law

                                   9   that Defendant acted in good faith and that no accommodation was possible. Dkt. No. 75 ¶ 9.

                                  10   Plaintiff’s characterization of the denial as the result of less-than-genuine participation on the part

                                  11   of the Port raises an issue of material fact properly subject to jury determination. See Dkt. No. 87-

                                  12   1 at 9.
Northern District of California
 United States District Court




                                  13    V.       CONCLUSION
                                  14             For the foregoing reasons, Defendant’s motion for summary judgment is GRANTED as to

                                  15   Claims One, Two, and Three, and DENIED as to Plaintiff’s remaining claims.

                                  16             IT IS SO ORDERED.

                                  17   Dated: 9/10/2018

                                  18                                                      ______________________________________
                                                                                          HAYWOOD S. GILLIAM, JR.
                                  19                                                      United States District Judge
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